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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY


   NINA AGDAL,
                                                          Civil Action No. 23-16873 (MCA) (MAH)
                                 Plaintiff,

                     v.

   DILLON DANIS,                                                          ORDER

                                 Defendant.



         THIS MATTER having come before the Court for a July 11, 2024 in-person hearing for

  the Court’s May 31, 2024 Order to Show Cause [D.E. 57] held on the record;

         and the Court having further considered the record, the parties’ arguments, and the

  applicable case law;

         and for the reasons stated on the record on July 11, 2024;

         and for good cause shown:

         IT IS on this 11th day of July 2024,

         ORDERED THAT

                1.        Plaintiff’s request for sanctions is denied without prejudice.

                2.        By or before July 18, 2024, Plaintiff shall send to Defendant a letter
                          outlining the specific items of written discovery that remain outstanding,
                          and a non-exhaustive list of likely document custodians.

                3.        By or before August 18, 2024, Defendant, with the assistance of counsel,
                          shall search for and produce all responsive materials, as well as all of
                          Defendant’s communications regarding either Plaintiff’s image or the
                          posting of Plaintiff’s image on social media.

                4.        By or before August 18, 2024, Defendant will file a certification
                          outlining:
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                  (a)    all activities done to engage in his search to the responsive
                         discovery;

                  (b)    result of search to the responsive discovery;

                  (c)    attesting that the August 18, 2024 production and prior productions
                         constitutes the entirety of responsive materials in Defendant’s
                         custody, possession or control, exclusive of those related to X.

             5.   Any forthcoming deposition of Defendant shall remain open. If it comes
                  to the Court’s attention that Defendant did not produce all responsive
                  documents as outlined in this Order, a forensic vendor shall search all of
                  Defendant’s necessary accounts. Any such forensic search shall solely be
                  at Defendant’s expense.

             6.   There will be a telephone status conference before the Undersigned on
                  August 27, 2024, at 2:30 p.m. The parties shall dial 1-888-684-8852 and
                  enter access code 1456817# to join the call.




                                                s/ Michael A. Hammer___________
                                                Hon. Michael A. Hammer
                                                United States Magistrate Judge
